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8
                            UNITED STATES DISTRICT COURT
9                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
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12                                               Case No. 3:18-cv-02454

13   FEDERAL TRADE COMMISSION,
                                                 [PROPOSED] ORDER STAYING
14          Plaintiff,                           BRIEFING IN LIGHT OF UNITED
            v.                                   STATES GOVERNMENT
15                                               CESSATION
16   LENDINGCLUB CORPORATION,

17   d/b/a Lending Club,

18          Defendant.

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     [PROPOSED] ORDER STAYING BRIEFING                      Case No. 3:18-cv-02454-JSC
           Case 3:18-cv-02454-JSC Document 67 Filed 01/02/19 Page 2 of 2



1    TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

2           Having considered Plaintiff’s motion for a stay of briefing in light of the cessation of

3    operations by the United States Government, the Court GRANTS Plaintiff’s motion and all deadlines

4    in this case are stayed until Congress has restored appropriations to the Federal Trade Commission.

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6    IT IS SO ORDERED.

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             1/2/2019
8    Dated: __________________, 2018              _________________________________
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                                                         __________________________   ____
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                                                  The
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                                                         norable Jacqueline Scott C oorrley
9                                                 United
                                                    i dS States Magistrate
                                                                M i        JJudge
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       [PROPOSED] ORDER STAYING BRIEFING                                     Case No. 3:18-cv-02454-JSC
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